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IN THE UNITED sTATES DISTRICT coURT Fi‘»'§f»`* ‘:-3`"=` /6%' D.C.
FOR THE wEsTERN DISTRICT 0F TENNESSEE
wEsTERN DIVISION 85 AUG 3! AHI|: 95
UNITED sTATES oF AMERICA * \,-_,;.LELD
Plaintiff, : QHKLQ' 'memm
" *:'1'»"1:”-.- ,..rr::
vs. * CR. NO. 2:94-200§”3’-`£4&1 "“““PH'S
*k
AARON DALE THOMAS *
Defendant. *

 

ORDER HOLDING PROBATIONER FOR SHOW CAUSE HEARING

On August 29, 2005, Aaron Dale Thomas appeared before me on
a petition to amend the terms and conditions of
probation/supervised release in.this]matter. Counsel was appointed

to represent dft Aaron Dale Thomas.

Accordingly, defendant Aaron Dale Thomas is held before the
District Court to show cause Why his conditions should not be

modified by a hearing to be set on notice from the United States

District Court.

IT'IS SO ORDERED thisE§o%L day of chz? , 2005.

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UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket sheet in com liance
with we 35 and/or sz(b) FHCrP an ' /’05

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Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 2:94-CR-20083 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Kevin G. Ritz

U.S. ATTORNEY'S OFFICE- Memphis
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

